  Case 18-50784        Doc 75      Filed 01/16/19 Entered 01/16/19 08:04:55        Desc Main
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SIGNED THIS 15th day of January, 2019


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION

In re:                                                     Chapter 11
                                                           Case No. 18-50784
         LYNWOOD HOLDINGS INC., et al.,                    Jointly Administered
         A VIRGINIA CORPORATION
                        Debtors.                           Judge Rebecca Connelly


            ORDER (I) DENYING EMERGENCY MOTION TO RECONSIDER
                AND (II) CONTINUING REQUEST FOR SANCTIONS

         This matter came before the Court upon the Emergency Motion to Reconsider (the

“Motion”) filed by K.I.P., LLC (“KIP”) and the Debtors’ Objection to the Emergency Motion to

Reconsider (the “Objection”). It appearing to the Court that due and proper notice of the Motion

and hearing (the “Hearing”) thereon was proper and no further notice is necessary. Further, the

Court (a) having reviewed (i) the Motion and (ii) the Objection; (b) having heard argument from

KIP and from the Debtors at the Hearing; (c) determining as stated on the record in open Court at

the Hearing on January 9, 2019 that the relief requested in the Motion is unwarranted; and (d)

finding just cause for the continuance granted herein;

                THE COURT FURTHER FINDS THAT:




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        A.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

        B.        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

IT IS HEREBY ORDERED THAT:

        1.        For the reasons stated on the record in open Court at the Hearing on January 9,

2019, the Motion is hereby denied in its entirety.

        2.        For the reasons stated on the record in open Court at the Hearing on January 9,

2019, the request of Debtor Lynwood Holdings, Inc., a Wyoming corporation for sanctions

against KIP in the form of costs associated with responding to the Motion is hereby continued to

March 20, 2019, at 11:00 AM at Harrisonburg, Courtroom, US Courthouse, 116 N Main St.,

Harrisonburg, VA 22802.

        3.        Upon entry of this order, the Clerk shall serve a copy of this Order on the parties

on the attached service list.

        4.        This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                        **END OF ORDER**

I ask for this:

/s/ Paula S. Beran
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Seen and objected to:

/s/ Andrew P. Hill (Permission to affix signature received via email dated Jan. 14, 2019)
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Service List for Entered Order

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